

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-75,703






EX PARTE ROBERT LEE MARTIN, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 955530-B IN THE 331ST JUDICIAL DISTRICT COURT


FROM TRAVIS COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of aggravated sexual
assault and sentenced to life imprisonment.  The Third Court of Appeals affirmed his conviction.
Martin v. State, No. 03-02-00435-CR (Tex. App. - Austin, May 15, 2003, no pet.).  

	Applicant contends, inter alia, that his appellate counsel rendered ineffective assistance
because counsel failed to timely notify Applicant that his conviction had been affirmed. 

	Appellate counsel filed an affidavit with the trial court.  Based on that affidavit, the trial court
has entered findings of fact and conclusions of law that appellate counsel failed to timely notify
Applicant that his conviction had been affirmed.  The trial court recommends that relief be granted. 
Ex parte Wilson, 956 S.W.2d 25 (Tex. Crim. App. 1997).  We find, therefore, that Applicant is
entitled to the opportunity to file an out-of-time petition for discretionary review of the judgment of
the Third Court of Appeals in Cause No. 03-02-00435-CR that affirmed his conviction in Case No.
955530 from the 331st Judicial District Court of Travis County.  Applicant shall file his petition for
discretionary review with the Third Court of Appeals within 30 days of the date on which this Court's
mandate issues.


Delivered: June 13, 2007

Do not publish

				


